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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 23-62408-CIV-SMITH

 CHARITY E. KIMES,

           Plaintiff,
 v.

 CROWNLUV INTERNATIONAL, INC.,

       Defendant.
 ____________________________________/

                                   ORDER TO SHOW CAUSE

           This cause came before the Court upon a sua sponte examination of the record. Federal

 Rule of Civil Procedure 4(m) requires service of the summons and complaint to be perfected upon

 defendants within 90 days after the filing of the complaint. Plaintiff filed this action on December

 26, 2023, and to date, there is no indication in the court file that Defendant CrownLuv

 International, Inc. has been served with the summons and complaint. It is therefore

           ORDERED that on or before March 29, 2024, Plaintiff shall perfect service upon

 Defendant or show cause why this action should not be dismissed for failure to perfect service of

 process. Failure to comply with this order will result in dismissal of this matter without further

 notice.

           DONE AND ORDERED in Fort Lauderdale, Florida, this 26th day of March, 2024.




 cc:       counsel of record
